Case 3:19-cv-18756-ZNQ-LHG   Document 169   Filed 10/19/21   Page 1 of 22 PageID:
                                   6836
Case 3:19-cv-18756-ZNQ-LHG   Document 169   Filed 10/19/21   Page 2 of 22 PageID:
                                   6837
Case 3:19-cv-18756-ZNQ-LHG   Document 169   Filed 10/19/21   Page 3 of 22 PageID:
                                   6838
Case 3:19-cv-18756-ZNQ-LHG   Document 169   Filed 10/19/21   Page 4 of 22 PageID:
                                   6839
Case 3:19-cv-18756-ZNQ-LHG   Document 169   Filed 10/19/21   Page 5 of 22 PageID:
                                   6840
Case 3:19-cv-18756-ZNQ-LHG   Document 169   Filed 10/19/21   Page 6 of 22 PageID:
                                   6841
Case 3:19-cv-18756-ZNQ-LHG   Document 169   Filed 10/19/21   Page 7 of 22 PageID:
                                   6842
Case 3:19-cv-18756-ZNQ-LHG   Document 169   Filed 10/19/21   Page 8 of 22 PageID:
                                   6843
Case 3:19-cv-18756-ZNQ-LHG   Document 169   Filed 10/19/21   Page 9 of 22 PageID:
                                   6844
Case 3:19-cv-18756-ZNQ-LHG   Document 169   Filed 10/19/21   Page 10 of 22 PageID:
                                    6845
Case 3:19-cv-18756-ZNQ-LHG   Document 169   Filed 10/19/21   Page 11 of 22 PageID:
                                    6846
Case 3:19-cv-18756-ZNQ-LHG   Document 169   Filed 10/19/21   Page 12 of 22 PageID:
                                    6847
Case 3:19-cv-18756-ZNQ-LHG   Document 169   Filed 10/19/21   Page 13 of 22 PageID:
                                    6848
Case 3:19-cv-18756-ZNQ-LHG   Document 169   Filed 10/19/21   Page 14 of 22 PageID:
                                    6849
Case 3:19-cv-18756-ZNQ-LHG   Document 169   Filed 10/19/21   Page 15 of 22 PageID:
                                    6850
Case 3:19-cv-18756-ZNQ-LHG   Document 169   Filed 10/19/21   Page 16 of 22 PageID:
                                    6851
Case 3:19-cv-18756-ZNQ-LHG   Document 169   Filed 10/19/21   Page 17 of 22 PageID:
                                    6852
Case 3:19-cv-18756-ZNQ-LHG   Document 169   Filed 10/19/21   Page 18 of 22 PageID:
                                    6853
Case 3:19-cv-18756-ZNQ-LHG   Document 169   Filed 10/19/21   Page 19 of 22 PageID:
                                    6854
Case 3:19-cv-18756-ZNQ-LHG   Document 169   Filed 10/19/21   Page 20 of 22 PageID:
                                    6855
Case 3:19-cv-18756-ZNQ-LHG   Document 169   Filed 10/19/21   Page 21 of 22 PageID:
                                    6856
Case 3:19-cv-18756-ZNQ-LHG   Document 169   Filed 10/19/21   Page 22 of 22 PageID:
                                    6857
